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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ANDREW LECHTER, et al.,         )
                                )
          Plaintiffs,           )
                                )
v.                              )
                                )               CASE NO. 1:20-CV-01325-AT
APRIO, LLP f/k/a HABIF, AROGETI )
& WYNNE, LLP, et al.            )
                                )               JURY DEMAND
          Defendants.           )
                                )

                 STIPULATION FOR DISMISSAL
       DEFENDANT DENTONS SIROTE PC WITHOUT PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs and

Defendants stipulate that Defendant Dentons Sirote PC (“Sirote”) be dismissed

without prejudice with Plaintiffs and Sirote bearing their own attorneys’ fees and

costs. Sirote reserves all rights in the event that Plaintiffs later seek to bring Sirote

back into this action.




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Date: July 8, 2022

Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C), specifically, Times New

Roman, 14 point.

      This 8th day of July, 2022.

                                                     /s/ Tyler M. Simpson




                         CERTIFICATE OF SERVICE

      The undersigned certifies that on July 8, 2022, a true and correct copy of the

foregoing document was filed with the Clerk of the Court by using the CM/ECF

system.

                                                     /s/ Tyler M. Simpson




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